                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE

 IN RE:                                            )
                                                   ) Case No. _______
 RICHARD STEPHEN POTTS,                            )
                                                   )
             Debtor.                               )
                                                   )
                                                   )
 RICHARD POTTS,                                    ) Adv. Proc. No. _______
                                                   )
                   Plaintiff,                      )
                                                   )
            vs.                                    )
                                                   )
 TREY CAIN and RIVER EDGE INN, LLC,                )
                                                   )
                   Defendants.                     )
                                                   )

                                     NOTICE OF REMOVAL

           Pursuant to 28 U.S.C. § 1452 and Federal Rule of Bankruptcy Procedure 9027, Trey Cain

and River Edge Inn, LLC hereby give notice of removal of the action styled Richard Potts v. Trey

Cain, et. al, Sevier County Chancery Court Case No. 19-10-203 (the “State Court Action”). Mr.

Cain and River Edge Inn, LLC state as follows:

           1.     On October 11, 2019, Mr. Potts initiated the State Court Action.

           2.     On March 4, 2020, Mr. Cain and River Edge Inn, LLC asserted counterclaims in

the State Court Action.

           3.     On March 17, 2020, Mr. Potts filed for bankruptcy under Chapter 11 of the United

States Bankruptcy Code in the United States Bankruptcy Court for the Middle District of

Tennessee, case number 3:20-BK-01689 (the “Bankruptcy Proceeding”).

           4.     Pursuant to 28 U.S.C. § 1334(b), this Court has jurisdiction over the State Court

Action because the claims and counterclaims arise under, arise in, or are related to the Bankruptcy



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Proceeding. Without limitation, Plaintiff’s claims in the State Court Action concern whether he

has an ownership interest in River Edge (which is denied, but if correct would be property of the

bankruptcy estate), and Defendant’s counterclaims are stayed pursuant to the automatic stay and

concern issues of fraud and other non-dischargability issues against Plaintiff.

           Pursuant to Rule 9027, a copy of all process and pleadings in the State Court Action are

attached hereto. Mr. Cain and River Edge Inn, LLC consent to entry of final orders and judgment

by this Court.

                                               Respectfully submitted,

                                               /s/ Christina R.B. López
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                                               Inn, LLC




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                                    CERTIFICATE OF SERVICE

           I certify that true and exact copies of the foregoing have been served via electronic and

U.S. Mail on June 15th, 2020 on the following:

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           Counsel for Plaintiff in the State Court Action


                                                        /s/ Christina R.B. López
                                                        Michael G. Abelow




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